   Case 1:19-cr-00254-ALC Document 38 Filed 10/23/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                             X


UNITED STATES OF AMERICA

                - v. -                             ORDER

 OZ YOSEF,                                         S2 19 Cr. 254    (ALC)
    a/k/a "Oz Joseph,"

                     Defendant.

-----------------                            X



     Upon the       application of the           United States,     by the United

States Attorney for the Southern District of New York, Geoffrey S.

Berman,   by Assistant United States Attorneys Jessica Fender and

Sheb Swett;

     It is found that the Indictment in the above-captioned action,

S2 19 Cr. 254, is currently sealed and the United States Attorney's

Office    has     applied   to    have    that    Indictment   unsealed,    it   is

therefore

     ORDERED that the Indictment,                S2 19 Cr.   254,   in the above-

captioned action be unsealed and remain unsealed pending further

order of the Court.



Dated:      New York, New York
            October ;L.j, 2019



                                         THE HONORABLE DEBRA FREEMAN
                                         UNITED STATES MAGISTRATE JUDGE
